Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 1 of 12




                       EXHIBIT B
     Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 2 of 12
                                                                                                   12J9/2020 10:46 AM
                                                                         Marilyn Burgess - District Clerk Harris County
                                                                                              Envelope No. 48775534
                                                                                                  By: Carolina Salgado
                                                                                            Filed: 12/9/2020 10:46 AM

                                 Cause No.

SHARAH CURRIER                                §           IN THE DISTRICT COURT OF
                                              §
                                              §
V.                                            §          HARRIS COUNTY,TX
                                              §
                                              §
WAL-MART STORES TEXAS, LLC,                   §
WAL-MART STORES, INC.,                        §
WAL-MART EAST INC. and                        §
QUALITY LICENSING CORP.                       §                    JUDICIAL DISTRICT

                           PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff, SHARAH CURRIER, brings this lawsuit complaining of Defendants, WAL-

MART STORES TEXAS, LLC, WAL-MART STORES,INC., and WAL-MART EAST INC.,

and would respectfully show:

                                          I.
                                   DISCOVERY LEVEL

1.      Plaintiff requests discovery be conducted under Level 3 in accordance with Rule

190.4 of the Texas Rules of Civil Procedure. This case is subject to Texas Rule of Civil

Procedure 169 because the damages Plaintiffseeks monetary relief between $200,000.00

and $1,000,000.00.

                                        II.
                              REQUEST FOR DISCLOSURE

2.      Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests

Defendants disclose, within fifty(50) days of service of this request, the information and

material described in Rule 194.2 of the Texas Rules of Civil Procedure. Plaintiff specifically

requests the responding parties produce responsive documents at the undersigned law

offices within (50)days of service of this request.
     Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 3 of 12




                                           III.
                                        PARTIES

3.      Plaintiff, SHARAH CURRIER ("Currier"), is a resident of Harris County, Texas.

4.      Defendant, WAL-MART STORES TEXAS, LLC ("Wal-Mart") is a company

organized and existing under the laws of the State of Delaware. This Defendant is

authorized to do business in Texas and may be served through its registered agent, CT

Corporation System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

5.      Defendant, WAL-MART STORES,INC.("Wal-Mart"), is a company organized and

existing under the laws of the State of Delaware. This Defendant is authorized to do

business in Texas and may be served through its registered agent, CT Corporation

System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

6.      Defendant, WAL-MART EAST, INC. ("Wal-Mart"), is a company organized and

existing under the laws of the State of Delaware. This Defendant is authorized to do

business in Texas and may be served through its registered agent, CT Corporation

System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

7.    Defendant, QUALITY LICENSING CORP.("Quality"), is a company organized and

existing under the laws of the State of Texas. This Defendant is authorized to do business

in Texas and may be served through its registered agent, CT Corporation System, 1999

Bryan St., Suite 900, Dallas, Texas 75201.

                                         IV.
                                    JURISDICTION

8.     The court has jurisdiction over Defendants because they have either done business

in Texas, committed a tort in Texas, and/or have had continuous contacts with Texas.



                                             2
     Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 4 of 12




In addition, the damage for which Plaintiff brings suit exceeds the minimal jurisdictional

limits of the Court.
                                             V.
                                           VENUE

9.      Venue is proper in Harris County, Texas, because all or a substantial part of the

events and omissions giving rise to the claim occurred in Harris County.

                                             VI.
                                           FACTS

10.     On November 13,2020, Currier was seriously injured while shopping at a Wal-Mart

Supercenter located at 12353 FM 1960 Road W., Houston,Texas 77065.The supercenter

is owned, controlled and operated by Defendants.

11.     Just prior to her fall, Currier was using a self-checkout station at the front of the

store. While attempting to complete her purchase, Currier slipped in standing water and

fell, twisting her right knee. As she tried to steady herself, Currier fell again.

12.     Defendants' employees and managers had knowledge of the standing water but

failed to provide any warning to Currier. Furthermore, Defendants failed to clean up the

standing water or make the area safe for customers checking out.

13.     Following the fall Currier was transported by ambulance to the emergency room

where a CT scan revealed torn muscles in her right knee. Currier continues to suffer from

pain and impairment related to her fall and require medical treatment.




                                               3
   Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 5 of 12




                                          VII.
                                      NEGLIGENCE

14.    Defendants owed certain duties to Plaintiff. Defendants breached their duties and

were negligent in one or more of the following ways:

      a.     Failing to use ordinary care in maintaining the self-checkout kiosk
             area;

       b.     Failing to use ordinary care in inspecting the self-checkout kiosk area;

      c.      Failing to use ordinary care in staffing the self-checkout kiosk area;

      d.      Failing to properly train and supervise staff regarding hazards posed
              by standing water;

      e.     Failing to properly train and supervise staff regarding inspecting for
             slip and fall hazards;

      f.     Failing to properly train and supervise staff regarding maintaining
             floors;

      g.     Failing to have adequate policies and procedures regarding inspecting
             for slip and fall hazards;

       h.     Failing to have adequate policies and procedures regarding
              maintaining floors;

15.    Defendants' acts and omissions were a proximate cause of Plaintiffs injuries.

                                        VIII.
                                  PREMISE LIABILITY

16.    Defendants owed certain duties to Plaintiff as an invitee. Defendants possessed,

controlled or operated the premise. Defendants knew or should have known of the

standing water and its unreasonable risk of harm to invitees. Defendants breached their

duties of care by:




                                            4
   Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 6 of 12




      a.     Failing to adequately warn invitees of standing water; and

      b.     Failing to make the condition reasonably safe by failing to remove the
             standing water.

17.   Defendants' acts and omissions proximately caused Plaintiff's injuries.

                                          IX.
                                       DAMAGES

18.   Plaintiff respectfully requests the following damages to be considered separately

and individually for the purpose of determining the sum of money which will fairly and

reasonably compensate her:

      a.     The physical pain and suffering Plaintiff has suffered in the past and
             will continue to suffer in the future;

      b.     The physical impairment Plaintiff has suffered in the past and will continue
             to suffer in the future;

      c.     The mental anguish Plaintiff has suffered in the past and will continue
             to suffer in the future;

      d.     The loss of opportunity Plaintiff has suffered in the past and will
             continue to suffer in the future;

      e.     The loss of enjoyment of life Plaintiff has suffered in the past and will
             continue to suffer in the future;

      f.     The amount of reasonable medical expenses necessarily incurred by
             Plaintiff in the past and will be reasonably incurred in the future; and

      9.     The loss of any earnings sustained by Plaintiff in the past and the loss
             or reduction of Plaintiff's earning capacity in the future.

                                       X.
                               EXEMPLARY DAMAGES

19.   Defendants' conduct, when viewed from the standpoint of the actors at the time of

the occurrence, involved an extreme degree of risk, considering the probability and



                                            5
   Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 7 of 12




magnitude of the potential harm to others. Furthermore, Defendants' conduct illustrates

not only an attitude of conscious indifference for the rights, safety and welfare of others,

but also shows Defendants' actual and subjective awareness of the dangers of such

conduct.

20.    Nevertheless, Defendants proceeded with a conscious indifference to the rights,

safety or welfare of others, including Plaintiff. Therefore, Defendants are liable for

exemplary/punitive damages.

                                         Xl.
                                CONDITIONS PRECEDENT

21.    All conditions precedent have been performed or have occurred as required by

Texas Rule of Civil Procedure 54.

                                            XII.
                                       JURY DEMAND

22.    Plaintiff DEMANDS A TRIAL BY JURY and submits the appropriate fee.

                                            XIII.
                                          PRAYER

23.    For the above reasons, Plaintiff prays she has judgment against Defendants, with

interest on the judgment at the legal rate, pre-judgment interest, costs of court and for such

other further relief, both in law and equity,to which Plaintiff may show herselfjustly entitled.




                                              6
Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 8 of 12




                                      Respectfully Submitted,

                                      THE GIBBON LAW FIRM




                                      Jason A. Gibson
                                      State Bar No. 24000606
                                      jag@jag-lawfirm.com
                                      Casey L. Gibson
                                      State Bar No. 24090599
                                      cgibson@jag-lawfirm.com
                                      3701 Kirby Drive, Suite 101
                                      Houston, Texas 77098
                                      Ph:(713)650-1010
                                      Fax:(713)650-1011

                                      e-Service: efile@jag-lawfirm.com
                                      ATTORNEYS FOR PLAINTIFF




                                  7
      Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 9 of 12 12/18/2020 10:52 AM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 49082778
                                                                                                         By: Tiffany Jefferson
                                                                                                Filed: 12/18/2020 10:52 AM

                                     CAUSE NO. 2020-78708

SHARAH CURRIER                                   §         IN THE DISTRICT COURT OF
         Plaintiff,                              §
                                                 §
vs.                                              §         HARRIS COUNTY, TEXAS
                                                 §
WAL-MART STORES TEXAS, LLC                       §
WAL-MART STORES, INC.,                           §
WAL-MART EAST INC. and                           §         61ST JUDICIAL DISTRICT
QUALITY LICENSING CORP.
     Defendant.

                            DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant WALMART STORES TEXAS, LLC, incorrectly sued as WAL-MART

STORES TEXAS, LLC, WAL-MART STORES, INC, WAL-MART EAST INC., and

QUALITY LICENSING CORP., files this Original Answer to Plaintiff’s Original Petition

(“Petition”), and in support thereof, would respectfully show the Court the following:

                                       I.   General Denial

        1.      Under Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every allegation made against Defendants in Plaintiff’s Original and First Amended

Petition.

                                   II. Affirmative Defenses

        2.      Defendant asserts the affirmative defense of contributory negligence. The

negligence of Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or,

in the alternative, must be reduced in accordance with the relative degree of Plaintiff’s own

negligence. Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.



                                                  1
HOULITIGATION:1720007.1
    Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 10 of 12




        3.      Defendant is entitled to all caps and limitations on damages pursuant to the Texas

Civil Practice & Remedies Code.

        4.      Defendant alleges that Plaintiff’s injuries and/or damages were caused by an

intervening event for which Defendant has no liability.

        5.      Defendant affirmatively pleads that Plaintiff’s injuries were caused by the actions

or inactions of parties not under Defendant’s control.

        6.      Defendant affirmatively pleads the defense set forth in Texas Civil Practice and

Remedies Code Section 18.091, requiring Plaintiff to prove Plaintiff’s loss of earning, loss of

contributions of a pecuniary value, and/or loss of earning capacity in the form of a net loss after

reduction for income tax payments or unpaid tax liability on said loss or earning claim pursuant

to any federal income tax law.

        7.      To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses is limited to the amount actually paid or incurred by

or on behalf of Plaintiff.

        8.      Plaintiff’s claims for pre-judgment interest are limited by the dates and amounts

set forth in Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil

Practice & Remedies Code.

                                      III. Jury Demand

        9.      Defendant hereby exercises its rights to demand a trial by jury under Rule 216 of

the Texas Rules of Civil Procedure on all issues triable by a jury.




                                                 2
HOULITIGATION:1720007.1
    Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 11 of 12




                                      IV. Request for Disclosure

        10.      Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff is requested

to disclose, within thirty days of service of this request, the information or material described in

Rule 194.2(a)-(l) and the documents described in Rule 194.4 of the Texas Rules of Civil

Procedure.

                                             V.    Prayer

        FOR THESE REASONS, Defendant WALMART STORES TEXAS, LLC, incorrectly

sued as WAL-MART STORES TEXAS, LLC, WAL-MART STORES, INC, WAL-MART

EAST INC., and QUALITY LICENSING COR, respectfully prays that the Court enter a

judgment that:

        1.       Dismisses all claims against Defendants WALMART STORES TEXAS, LLC,

       incorrectly sued as WAL-MART STORES TEXAS, LLC, WAL-MART STORES, INC,

       WAL-MART EAST INC., and QUALITY LICENSING COR and order that Plaintiff take

       nothing by reason of Plaintiff’s allegations.

        2.       Orders that Defendant recover all costs incurred in defense of Plaintiff’s claims,

       and that Defendant’s judgment against Plaintiff include the following:

              a. Costs of suit; and

              b. Such other and further relief, general and special, at law or in equity, to which

                 Defendants may be justly entitled.

                                                  Respectfully submitted,
                                                  MEHAFFYWEBER, P.C.

                                                  By:/s/Maryalyce W. Cox
                                                  Maryalyce W. Cox
                                                  State Bar No. 24009203
                                                  One Allen Center
                                                  500 Dallas, Suite 2800

                                                    3
HOULITIGATION:1720007.1
    Case 4:21-cv-00070 Document 1-2 Filed on 01/08/21 in TXSD Page 12 of 12




                                             Houston, Texas 77002
                                             Telephone - (713) 655-1200
                                             Telecopier - (713) 655-0222
                                             maryalycecox@mehaffyweber.com

                                             ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE

        This will certify that a copy of the foregoing document was furnished to counsel for
Plaintiff on December 18, 2020, pursuant to the Texas Rules of Civil Procedure.

                                             Maryalyce W. Cox
                                             Maryalyce W. Cox




                                                4
HOULITIGATION:1720007.1
